               Case 2:23-cv-01495-JHC Document 90 Filed 10/26/23 Page 1 of 2




 1                                                                       HONORABLE JOHN H. CHUN

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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   FEDERAL TRADE COMMISSION, ET AL.
                                                        NO. 2:23-cv-01495-JHC
10                          Plaintiffs,

11              v.                                      WALMART’S MOTION TO SEAL PORTIONS
                                                        OF ITS MOTION TO MAINTAIN CERTAIN
12   AMAZON.COM, INC., a corporation,                   THIRD-PARTY INFORMATION IN THE
13                          Defendant.                  COMPLAINT UNDER SEAL

14                                                      NOTE ON MOTION CALENDAR:
                                                        NOVEMBER 10, 2023
15

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17          Walmart Inc. (“Walmart”) respectfully requests that the Court seal limited portions of (1)

18   its Motion to Maintain Certain Third-Party Information in the Complaint Under Seal, (2) the

19   Declaration of Michael Mosser submitted in support thereof, and (3) Exhibit A to the Declaration

20   of Koren W. Wong-Ervin. Walmart met and conferred with the Federal Trade Commission

21   (“FTC”) and Amazon.com, Inc. (“Amazon”) to seek consent to this motion. The FTC does not

22   oppose and Amazon takes no position on this motion. The relief Walmart seeks is narrowly

23   tailored to seal only references to specific paragraph numbers and relief sought that, if otherwise

24   disclosed, would defeat the purpose of its narrowly tailored requests.

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                                                                                          LAW OFFICES
     WALMART’S MOTION TO SEAL PORTIONS OF ITS MOTION TO                 HARRIGAN LEYH FARMER & THOMSEN LLP
     MAINTAIN CERTAIN THIRD-PARTY INFORMATION IN THE                             999 THIRD AVENUE, SUITE 4400
                                                                                 SEATTLE, WASHINGTON 98104
     COMPLAINT UNDER SEAL - 1                                                 TEL (206) 623-1700 FAX (206) 623-8717
     (2:23-cv-01495-JHC)
                   Case 2:23-cv-01495-JHC Document 90 Filed 10/26/23 Page 2 of 2




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 2              DATED this 26th day of October, 2023.
 3
                                                            HARRIGAN LEYH FARMER & THOMSEN LLP
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20                                                          Attorneys for Limited Intervenor Walmart Inc.

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     ∗
         I certify that this memorandum contains 110 words, in compliance with the Local Civil Rules.
                                                                                                    LAW OFFICES
     WALMART’S MOTION TO SEAL PORTIONS OF ITS MOTION TO                             HARRIGAN LEYH FARMER & THOMSEN LLP
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